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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:17-cr-20275-UU

 UNITED STATES OF AMERICA,

                Plaintiff,
 v.

 KEVIN C. FUSCO,

             Defendant.
 ______________________________/

                             ORDER STRIKING PRO SE FILINGS

         THIS CAUSE is before the Court on three pro se filings by Defendant: (1) Motion for

 Leave to File for Post Conviction Hearing (D.E. 38), (2) Motion for Relief Pursuant to 28 U.S.C.

 § 2201 (D.E. 39), and (3) Motion to Compel/Order the United States to Enter Affirmative

 Responses (D.E. 40) (collectively, the “Motions”).

         The Court has considered the Motions and notes that Defendant is represented by an

 attorney in this matter. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Defendant=s pro se filings (D.E. 38, 39 & 40) are

 STRICKEN. See, e.g., Cross v. United States, 893 F.2d 1287, 1291-92 (11th Cir. 1990) (A[A]n

 individual does not have a right to hybrid representation.@) (internal citations omitted).

         DONE AND ORDERED in Chambers at Miami, Florida, this _20th_ day of September,

 2018.



                                                       ____________________________________
                                                       URSULA UNGARO
                                                       UNITED STATES DISTRICT JUDGE
 copies provided:
 counsel of record
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